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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

 

 

MDHAMMAD TANVEER,

 

Petitioner, 06-cr-1135 (JGK)
-against- MEMORANDUM OPINION
AND ORDER

UNITED STATES OF AMERICA,

Respondent.

 

 

JOHN G. KOELTL, United States District Judge:

The petitioner, Mohammad Tanveer, brings this 28 U.S.C.

§ 2255 petition to vacate his guilty plea and conviction on
grounds of alleged ineffective assistance of counsel. The
petitioner offers, alternatively, to plead to a nonaggravated
felony. The petitioner’s § 2255 petition is denied.

I.

The petitioner, a noncitizen, emigrated from Pakistan to
the United States in the 19903 when the political entities with
which he was affiliated lost power. Pet. I 20. He applied for
asylum in the United States, but in March of 1998 he failed to
attend a hearing in immigration court related to his asylum
application. ld; I 7; Govt. Ex. 13. Due to the petitioner’s
nonattendance, the immigration judge found that the petitioner
had “abandoned any and all claim(s) for relief from
deportation/exclusion,” and ordered the petitioner deported from

the United States to Pakistan. Govt. EX. 13. Despite this

 

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pending order for his removal from the United States, the
petitioner remained in the country.

Between January 2004 and August 2006, the petitioner and
two codefendants carried out a scheme whereby they paid illegal
remuneration to induce people to purchase prescription drugs
that were paid by Medicaid. Govt. Ex. l at l-3. Following his
indictment, the petitioner entered into a cooperation agreement
with the Government to assist in its cases against his
codefendants. §ee Govt. Ex. 2. On June lO, 2008, pursuant to the
plea agreement,r the petitioner pleaded guilty to one count of
offering and paying kickbacks, bribes, and rebates to induce
Medicaid recipients to order prescription drugs, in violation of
18 U.S.C. § 371 and 42 U.S.C. § 1320a-7b(b)(2)(b). Govt. Ex. 2
at l; Govt. Ex. 3. The petitioner was represented by defense
counsel throughout his criminal proceeding.l As a noncitizen, the
petitioner’s guilty plea subjects him to mandatory removal from
the United States for having committed an aggravated felony. §ee
8 U.S.C. §§ llOl(a)(43), 1227(a)(2)(A)(iii). This is in addition
to the outstanding order issued in 1998 for his removal.

At his sentencing on January 14, 2010, this Court found

that the petitioner's guideline sentencing range was thirty-

 

1 The trial counsel whose representation is the subject of the
petitioner’s 28 U.S.C. § 2255 petition was the petitioner’s third and last
attorney in his criminal proceeding.

 

 

 

 

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seven to forty-six months' imprisonment. However, given the
petitioner’s cooperation with the Government, the Court
downwardly departed and sentenced the petitioner principally to
four years' probation. Govt. EX. 8 at 18-20.

Represented by new counsel, the petitioner filed this 28
U.S.C. § 2255 petition, alleging that trial counsel's
performance was deficient for two particular reasons. First, the
petitioner claims that during a proffer session before his
guilty plea, the prosecutor and trial counsel advised him that
his criminal case was distinct from, and therefore would not
affect, his outstanding immigration case. Second, the petitioner
asserts that trial counsel did not explain clearly that
cooperating with the Government might reduce the petitioner's
chance of going to jail, but that it would not lower his chance
of removal and that it might subject him to danger if he
returned to Pakistan. These deficiencies, according to the
petitioner, render his guilty plea invalid because it was not
given knowingly and voluntarily.

This Court held two evidentiary hearings - one on September
12, 2018 (Hearing l), and the other on October 15, 2018 {Hearing
2) - at which trial counsel, the petitioner, and the prosecutor
in the petitioner’s criminal case (“the prosecutor”) all

testified. Having reviewed the evidence and assessed the

 

 

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credibility of the witnesses, the Court makes the following
findings of fact and reaches the following conclusions of law.
A.

Concerning his first theory of ineffective assistance of
counsel, the petitioner testified that during a proffer session
he asked the prosecutor three times whether his criminal case
would have any effect on his outstanding immigration case, and
the prosecutor confirmed that it would not. Hearing 2 Tr. at 12-
l4. The petitioner added that trial counsel was present and did
not advise otherwise after the petitioner asked trial counsel
whether the prosecutor was correct. ;d; This testimony was not
credible.

Trial counsel testified credibly that, although he does not
recall the specifics of his representation of the petitioner, he
“certainly discussed immigration consequences and the risk of
deportation” with the petitioner. Hearing l Tr. at 65. Trial
counsel added that his standard practice at the time of
representation was to suggest that noncitizen clients see an
immigration lawyer if they had questions or concerns related to
immigration consequences. ld; Trial counsel also stated that he
would have been particularly careful to follow that practice in
the petitioner's case for two reasons. ld; First, trial counsel
recalled that the petitioner had a pending warrant for his

removal. Id. Second, trial counsel stated that the petitioner

 

 

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had received threats from people in the United States and in
Pakistan about what might happen to him if he returned to
Pakistan. ;d; The petitioner denied that trial counsel told him
to consult an immigration attorney. Hearing 2 Tr. at 16.

Trial counsel also testified that his general practice
during the time he represented the petitioner was never to
render substantive legal advice to his clients in front of an
adversary. Hearing l Tr. at 78. This was his practice “for a
number of reasons,” most importantly to avoid waiving the
attorney-client privilege. ld; at 84. Indeed, trial counsel
stated that his general practice also included instructing the
attorneys with whom he worked to avoid providing substantive
legal advice to a client and to defer any questions to him. §d;
at 85-86; see Govt. EX. 16 (an email in which trial counsel
advised an attorney in his office to review an agreement offered
to the petitioner at a proffer session with the petitioner and
the interpreter, but not the Government, in the room).

Trial counsel testified that he does not remember
specifically the petitioner’s asking him or the prosecutor
during a proffer session whether the petitioner's criminal and
immigration cases were distinct. Hearing l Tr. at 77. However,
trial counsel testified credibly that he would not have advised
the petitioner that the cases were distinct because “{he

doesn't] think it’s a true statement,r number one. And number

 

 

 

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two, [he] would not have given a substantive answer to a client
in front of an adversary.” ld; at 78.

Moreover, the prosecutor testified credibly that there was
a shared understanding among the petitioner, trial counsel, and
himself that the petitioner would be removed from the United
States following his guilty piea. ld; at lé, 23, 30-31. The
prosecutor stated that he remembers “very specifically” that the
immigration consequences facing the petitioner were unfortunate
because the petitioner’s codefendants m both of whom were more
culpable in the criminal scheme m might not be deported, and
because the petitioner faced safety concerns in Pakistan. ld; at
14, 18, 23.

The prosecutor testified that he also did not recall the
petitioner asking during a proffer session whether his criminal
and immigration cases were distinct. §d; at 19. The prosecutor
stated that while the fact that the two proceedings were
distinct did not “seem contrary to facts,” it was unlikely that
defense counsel said anything to the effect that the criminal
case had no effect on the immigration case because “that {the
petitioner] shouldn't have any concern[] [about deportation] is
unlikely given what l do remember of the case.” ld;

In short, there is no credible evidence that defense
counsel provided any assurance to the petitioner that he would

not be deported as a result of his guilty plea and conviction.

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B.

Concerning his second theory of ineffective assistance of
counsel, the petitioner initially testified during his direct
examination that it was his understanding that, if he cooperated
with the Government, he “maybe . . . would get to stay in [the
United States].” Hearing 2 Tr. at ll, 18. However, also during
his direct examination, the petitioner testified as follows:

Q. What did you believe would be the risk to your
immigration status, based upon the guilty plea, given
you were cooperating?

A. That they would not allow me to continue to
stay in this country and send me back to my country.

Q. When the judge addressed you during the colloquy
on the guilty plea, referring to your immigration
status, . . . what did you believe or understand might
take place with the guilty plea and your cooperation to
the government?

A. What l thought at that time was that if the
judge pronounces me guilty and sends me back, then l
have to go back to my country.

Q. Did [trial counsel] give you the choice in his
representation. and discussions with_ you, that if you
cooperated, you'd have an increased risk at home and a[
de]creased risk of jail, and if you did not cooperate
with the government, you’d have a greater likelihood of
jail, but would not face threats of harm and worse when
you went home?

A. Yes.

Q. When was it that [trial counsel] gave you this
choice, speaking to you and saying this is your choice?

A. Before the cooperation.

 

 

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Q. And what did you tell him you’d rather do?

A. That I will cooperate with the government.
§d; at 22-23, 32~33. Moreover, the prosecutor testified that his
general practice at the time was to warn noncitizen defendants
that they should assume, despite their cooperation, that the
United States Attorney’s Office could not keep them in the
United States. Hearing l Tr. at 2l.

Additionally, the petitioner’s plea agreement stated that
it did not bind the Bureau of Immigration and Customs
]Elnforcement,r and read, “The defendant understands that he is
bound by his guilty plea regardless of the immigration
consequences of the plea and regardless of any advice the
defendant has received from his counsel or others regarding
those consequences.”2 Govt. EX. 2 at 2, 4. Further, the following
exchange took place at the petitioner's plea colloquy:

THE COURT: Do you understand that if l accept your
guilty plea and adjudge you guilty, that adjudication

can be used as a basis to remove you from the United
States, what used to be called deportation?

 

2 The petitioner testified that a translator read the agreement to him
at his trial counsel's office, but his trial counsel was not present for the
translation. Hearing 2 Tr. at l9. The petitioner stated that the translator
paraphrased the agreement and did not translate the entire document. ld;
Additionally, the petitioner testified that he and trial counsel discussed
the agreement “[a] little bit,” and that trial counsel did not go through the
agreement paragraph-by-paragraph with him. ld; at 19#20. The petitioner
stated, however, that he understood that if he admitted he was guilty, “then
[his] immigration case will finish, and [he would] be sent back to [his]
country.” ld; at 20.

Trial counsel, on the other hand, testified that it was his practice at
the time to review plea agreements in their entirety with clients, with the
aid of an interpreter if necessary, paragraph-by-paragraph. Hearing l Tr. at
72-74 .

 

 

 

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THE DEFENDANT: Yes, your Honor.
Govt. EX. 3 at 16. And both the prosecutor’s and trial counsel's
sentencing submissions highlighted the fact that the petitioner
would likely be removed from the United States. §ee Govt. EX. 5
at 3; Govt. Ex. 6 at 4.
C.
The Government argues that the petitioner's 28 U.S.C.
§ 2255 petition should be denied because he failed to prove
ineffective assistance of counsel under Strickland v.
Washington, 466 U.S._668, 686 (1984), his petition is time
barred, and he is not in custody for purposes of § 2255.3 All
three arguments are persuasive.
II.
A.
Criminal defendants have a Sixth Amendment right to the
effective assistance of counsel during all critical stages of a

criminal proceeding. Janvier v. United States, 793 F.2d 449, 451

 

(2d Cir. 1986). To establish a claim of ineffective assistance

of counsel, the petitioner must show both that: (1) his

 

3 The Government also argues that a waiver provision in the petitioner's
plea agreement precludes him from bringing this ineffective assistance of
counsel claim on collateral attack. However, the petitioner insists that
trial counsel's allegedly ineffective assistance caused him to enter into the
plea agreement. “[A] waiver of appellate or collateral attack rights does not
foreclose an attack on the validity of the process by which the waiver has
been procured, here, the plea agreement.” Frederick v. Warden, Lewisburg
Corr. Facility, 308 F.3d 192, 195 (2d Cir. 2002}.

 

 

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counsel's performance was deficient in that it was objectively
unreasonable under professional standards prevailing at the
time, and (2) his counsel's deficient performance was
prejudicial to his case. §ee Strickland, 466 U.S. at 686;

Bunkley v. Meachum, 68 F.3d 1518, 1521 (2d Cir. 1995).

 

To meet the first prong of the Strickland test,r the
petitioner must establish that his counsel “made errors so
serious that counsel was not functioning as the ‘counsel'
guaranteed . . . by the Sixth Amendment.” Strickland, 466 U.S.
at 687. The petitioner bears the burden of proving “that
counsel's representation was unreasonable under prevailing
professional norms and that the challenged action was not sound

strategy.” Kimmelman v. Morrison, 477 U.S. 365, 381 (1986)

 

(citing Strickland, 466 U.S. at 688-89). Although this case
concerns representation before the Supreme Court's decision in

Padilla v. Kentucky, 559 U.S. 356 (2010), the Government and

 

petitioner agree that, before Padilla, there could be situations
where an attorney’s failure to advise a client about the
immigration consequences of the client's case could constitute
deficient performance. Hearing 2 Tr. at 62.

To meet the second prong of the Strickland test, the
petitioner must show that “there is a reasonable probability
that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different. A reasonable probability

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is a probability sufficient to undermine confidence in the
outcome.” Strickland, 466 U.S. at 694. ln the context of a
guilty plea that a petitioner seeks to vacate, the petitioner
must show that there is a reasonable probability that, but for
the challenged ineffective assistance, he would not have pleaded

guilty and would have insisted on going to trial. United States

 

v. Couto, 311 F.3d 179, 187 (2d Cir. 2002), abrogated on other

grounds by Padilla, 559 U.S. 356; see also Roy v. United States,

 

 

No. 18cv3105, --- F. Supp. 3d ----, 2018 WL 5915335, at *3
(S.D.N.Y. Nov. l3, 2018).

In this case, the evidence establishes that trial counsel's
performance was fully consistent with the requirement of
effective assistance of counsel. There is no evidence supporting
the petitioner’s assertion that trial counsel advised the
petitioner at a proffer session that the petitioner's criminal
case would not affect his immigration case or his immigration
status. However, there is ample evidence to the contrary,
including trial counsel's knowledge of the immigration aspects
of the petitioner’s criminal case, trial counsel's general
practice of not providing substantive legal advice in front of
an adversary, and the fact that such alleged advice did not
comport with the prosecutor’s understanding and recollection of

the case.

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Moreover, the petitioner admitted to knowing that he could
be deported following his guilty plea even though he cooperated
with the Government. The petitioner also testified that trial
counsel explained the potential consequences of cooperating and
that he chose willingly to cooperate. Further, at his plea
allocution, the petitioner told the Court he understood that his
guilty plea could be a basis for his removal from the United
States. Finally, trial counsel and the prosecutor both mentioned
the petitioner's likely removal from the United States in their
sentencing submissions, substantiating that trial counsel was
well aware of - and acted in accordance with ~ the immigration
consequences of the petitioner’s criminal case. ln short, no
evidence supports the petitioner’s claim that trial counsel
performed deficiently.

The petitioner has also failed to prove Strickland’s
prejudice prong. The evidence shows that the petitioner was
aware of the immigration consequences attached to a conviction
and nonetheless rejected trial in favor of cooperating with the
Government and pleading guilty pursuant to a plea agreement.
lndeed, the petitioner testified that he understood that
cooperating with the Government would decrease his likelihood of
being incarcerated. This case is plainly distinguishable from

Lee v. United States, 137 S. Ct. 1958 (2017}. ln that case, the

 

evidence showed that the defendant’s counsel advised the

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defendant that the defendant could not be deported if
deportation was not included in the plea agreement. ld; at 1963.
Deportation was the determinative issue in the defendant’s
decision to plead guilty. ld; The defendant’s counsel testified
that “if he had known [the defendantl would be deported upon
pleading guilty, he would have advised him to go to trial.” ld;
Here, there is no “reasonable probability” that but for the
alleged ineffective assistance, the petitioner would have gone
to trial. §ee §gutg, 311 F.3d at 187. Rather, the petitioner
used the collateral consequences of his likely removal from the
United States in pursuing a lighter sentence. Govt. EX. 5 at 3;

see Blumenberg v. United States, No. 0lcr57l, 2008 WL 1944012,

 

at *3 (S.D.N.Y. Apr. 30, 2008} (holding that the petitioner's
Strickland claim, regarding his entering into a plea agreement,
failed in part because the petitioner pursued a downward
departure at sentencing based on his possible removal}.

Finally, the petitioner cannot claim to have been
prejudiced by any immigration consequences of his conviction.
Not only was he made aware of such consequences, but he also has
had an order for his removal from the United States outstanding
for over twenty years. Thus, the petitioner’s Strickland claim

fails under both prongs.

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B.

Under 28 U.S.C. § 2255(f)(1), the petitioner had one year
from the date on which the judgment of his conviction became
final - in February 2010, after the time to appeal had run - to
file this petition. The petitioner filed this petition in April
2018. To excuse the delay, the petitioner contends that he did
not understand the immigration consequences of his guilty plea
until recently; thus he discovered that he had a basis for the
petition within a year of its filing. §ee 28 U.S.C. § 2255(f)(4)
(stating that the one-year statute of limitations may begin on
“the date on which the facts supporting the claim or claims
presented could have been discovered through the exercise of due
diligence”). However, this argument fails in light of the
voluminous evidence indicating that the petitioner understood
that his guilty plea could be a basis for his removal. Because
the petition was filed well after one year from the date the
petitioner’s judgment of conviction became final, the petition
must be denied.

C.

Finally, “to invoke habeas corpus review by a federal
court, the petitioner must satisfy the jurisdictional ‘in
custody’ requirement of 28 U.S.C. § 2255.” Scanio v. United
States, 37 F.3d 858, 860 (2d Cir. 1994). “[O]nce the sentence

imposed for a conviction has been fully discharged, the

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collateral consequences of that conviction are never sufficient,
by themselves, to render an individual ‘in custody' for the
purposes of habeas corpus review.” Abimobola v. United States,
369 F. Supp. 2d 249, 252 (E.D.N.Y. 2005) (citing Maleng v. Cook,
490 U.S. 488, 492 (1989)). Building on this proposition, a
number of courts have reasoned that the collateral immigration
consequences of a petitioner’s conviction, including detention
by immigration authorities, do not fulfill 28 U.S.C. § 2255's
custody requirement. ld; (collecting cases); see Eisa v.

Immigration & Customs Enf’t, 08cv6204, 2008 WL 4223618, at *4

 

(S.D.N.Y. Sept. ll, 2008) (“[A] petitioner in immigration
detention or under a final order of removal as a result of a
criminal conviction is not considered ‘in custody' for the

purposes of Section 2255.”); see also Ogunwomoju v. United

 

States, 512 F.3d 69, 74-75 (2d Cir. 2008) (applying the same
rule to 28 U.S.C. § 2254}.

ln this case, the petitioner has served his entire sentence
of conviction. Although he is currently detained by the
immigration authorities, this does not constitute custody for
purposes of his § 2255 petition.

Citing United States v. Correa-De Jesus, the petitioner

 

argues that even if he is not in custody and thus the Court
cannot grant his § 2255 petition, the Court should issue a writ

of coram nobis - a writ “to correct errors of the most

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fundamental character” - to vacate his conviction. §ee 708 F.2d
1283, 1285 (7th Cir. 1983) (quotation marks omitted). Because
the petitioner suffered no violation of his Sixth Amendment
right to the effective assistance of counsel, the Court will not
exercise its discretion to issue such a writ.
CONCLUSION

The Court has considered all of the arguments raised by the
parties. To the extent not specifically addressed, the arguments
are either moot or without merit. For the reasons explained
above, the petitioner's 28 U.S.C. § 2255 petition is denied.
Because the petitioner has failed to make a substantial showing
of the denial of a constitutional right, the Court declines to
issue a certificate of appealability pursuant to 28 U.S.C.
§ 2253(c)(2). The Clerk of the Court is directed to enter
judgment dismissing the petition, and to close all pending
motions and to close this case.
SO ORDERED.

Dated: New York, New York

 

 

February 4, 2019 <::;;;§G é; é:%%;?yr

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Uni ed States District Judge

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